Case 3:12-cr-01111-BTM    Document 318    Filed 09/23/14   PageID.929   Page 1 of 2



  1
  2
  3
  4
  5
  6
  7
  8                       UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10
 11   UNITED STATES OF AMERICA,
                                                    CASE NO. 12-cr-1111-BTM-4
 12                                Plaintiff,
            v.
 13                                                 ORDER DENYING MOTION TO
                                                    REDUCE SENTENCE
 14   HECTOR ULLOA-NAVARRO [4],                     WITHOUT PREJUDICE
 15                             Defendant.
 16
         Defendant Hector Ulloa-Navarro has filed a pro se Motion to Reduce
 17 Sentence pursuant to the Fair Sentencing Act of 2010, 18 U.S.C. §
 18   3582(c)(2). Defendant also requests that the Court appoint counsel to
 19   assist in his pursuit of a reduced sentence. Defendant requests a
 20   recalculation of his sentence based on a two-point reduction in his base
 21   offense level under the United States Sentencing Guidelines.
 22        A defendant is eligible for a sentence reduction if two prongs are
 23   satisfied: (1) the sentence is “based on a sentencing range that has
 24   subsequently been lowered by the Sentencing Commission” and (2) "such a
 25   reduction is consistent with applicable policy statements issued by the
 26   Sentencing Commission." United States v. Wesson, 583 F.3d 728, 730 (9th
 27   Cir. 2009) (quoting 18 U.S.C. § 3582(c)(2)). See also U.S.S.G. § 1B1.10
 28   (Reduction in Term of Imprisonment as a Result of Amended Guideline

                                                1                            09-cr-2709-BTM
Case 3:12-cr-01111-BTM   Document 318   Filed 09/23/14   PageID.930   Page 2 of 2



  1   Range). Defendant’s motion does not cite any post-sentencing amendment
  2   to the Guidelines. Rather, it appears to be based on a prospective
  3   amendment to the Guidelines. It is therefore premature. The motion is
  4   accordingly DENIED WITHOUT PREJUDICE.
  5        IT IS SO ORDERED.
  6
  7
  8                     18
      DATED: September ____, 2014         ___________________________
  9                                       Barry Ted Moskowitz
 10                                       Chief United States District Judge
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28


                                            2                              09-cr-2709-BTM
